           Case 1:20-vv-01196-UNJ Document 40 Filed 09/28/22 Page 1 of 7




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1196V
                                          UNPUBLISHED


    SARA CAMPBELL,                                              Chief Special Master Corcoran

                         Petitioner,
    v.                                                          Filed: August 29, 2022

    SECRETARY OF HEALTH AND                                     Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                             Stipulation on Damages; Influenza
                                                                (Flu) Vaccine; Shoulder Injury
                         Respondent.                            Related to Vaccine Administration
                                                                (SIRVA).

Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Lynn Christina Schlie, U.S. Department of Justice, Washington, DC, for Respondent.

                                    DECISION ON STIPULATION1

       On September 14, 2020, Sara Campbell filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner received an influenza (“flu”) vaccine, which vaccine is contained
in the Vaccine Injury Table (the “Table”), 42 C.F.R. § 100.3(a), on October 9, 2018.
Petitioner alleges that she sustained a shoulder injury related to vaccine administration
(“SIRVA”) as defined in the Table. She further alleges that the flu vaccine caused her
alleged shoulder injury and that she suffered the residual effects of this alleged injury for
more than six months. The case was assigned to the Special Processing Unit (“SPU”) of
the Office of Special Masters.


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:20-vv-01196-UNJ Document 40 Filed 09/28/22 Page 2 of 7




        Respondent denies that the flu vaccine caused Petitioner to suffer a right shoulder
injury or any other injury or her current condition, and denies that Petitioner sustained a
Table SIRVA injury.

       Nevertheless, on August 29, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

      A lump sum of $8,000.00 in the form of a check payable to Petitioner.
Stipulation at ¶ 8. This amount represents compensation for all items of damages that
would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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Case 1:20-vv-01196-UNJ Document 40 Filed 09/28/22 Page 3 of 7
Case 1:20-vv-01196-UNJ Document 40 Filed 09/28/22 Page 4 of 7
Case 1:20-vv-01196-UNJ Document 40 Filed 09/28/22 Page 5 of 7
Case 1:20-vv-01196-UNJ Document 40 Filed 09/28/22 Page 6 of 7
Case 1:20-vv-01196-UNJ Document 40 Filed 09/28/22 Page 7 of 7
